UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                ) Case No. 20-12345 (SCC)
                                                      )
THE ROMAN CATHOLIC DIOCESE OF                         ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                           )
                                                      )
                               Debtor.                )
                                                      )

                                 CERTIFICATE OF SERVICE

  STATE OF CALIFORNIA                    )
                                         )
  COUNTY OF ORANGE                       )


         I, Michael A. Matteo, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067.

         On March 15, 2022, in addition to service via the Court’s ECF system, I caused a true

and correct copy of the following documents to be served via electronic mail upon the parties set

forth on the service list annexed hereto as Exhibit A and via First class US Mail upon the parties

set forth on the service list annexed hereto as Exhibit B:

     Fourth Interim Application for Allowance of Compensation and Reimbursement of

         Expenses by Pachulski Stang Ziehl & Jones LLP as Counsel to the Official Committee of

         Unsecured Creditors for the Period from October 1, 2021 through January 31, 2022

         [Docket No. 1010];

     Fourth Interim Application for Allowance of Compensation and Reimbursement of

         Expenses by Burns Bowen Bair LLP as Special Insurance Counsel for the Period from

         October 1, 2021 through January 31, 2022 [Docket No. 1011];




DOCS_LA:342844.1 18491/002
     Fourth Interim Application for Allowance of Compensation and Reimbursement of

        Expenses by Berkeley Research Group, LLC as Financial Advisor for the Period from

        October 1, 2021 through January 31, 2022 [Docket No. 1012]; and

     Second Application of Ruskin Moscou Faltischek, P.C. for Interim Allowance of

        Compensation for Professional Services Rendered and Reimbursement of Actual and

        Necessary Expenses Incurred as Special Real Estate Counsel to the Official Committee of

        Unsecured Creditors for the Period October 1, 2021 through January 31, 2022 [Docket

        No. 1013].



        I declare under penalty of perjury, und the laws of the State of California and the United

States of America that the foregoing is true and correct.

                                                     /s/ Michael A. Matteo
                                                     Michael A. Matteo




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                                         EXHIBIT A
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